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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
www.flmb.uscourts.gov

In re:

Genie Investments NV Inc., Case No. 3:24-BK-00496-BAJ
Chapter 11
Debtor.

/

VERIFIED STATEMENT OF MARIA M. YIP

I HEREBY verify that I have no connections with the debtor(s), creditors, any other
parties in interest, their respective attorneys and accountants, the United States Trustee, or
any person employed in the Office of the United States Trustee except as follows: (If you
have no connections, write “none”.)

The Florida Department of Revenue, and the Internal Revenue Service are
creditors in unrelated cases in which I serve as a Chapter 7 trustee or Subchapter
V trustee.

I declare (or certify, verify or state) under penalty of perjury that the foregoing is true and
correct.

Date: April 16, 2024 Wain A ap

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